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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINI
                                      ALEXANDRIA DIVISION
?(IZO APR-b A B- I

                                                                      Civil Action No. l:20-cv-363

                                Plaintiff,

        V.



 GOVERNOR RALPH NORTHAM and the COMMONWEALTH OF VIRGINIA

                                Defendants.



    MOTION FOR RECONSIDERATION OF COURT ORDER DENYING PRELIMINARY
    INJUNCTION. EXPEDITED HEARING AND SERVICE OF COMPLAINT BY UNITED
                         STATES MARSHAL SERVICE




        Plaintiff objects to the Court Order in this case dated April 1, 2020, in which the Court

 denied Plaintiff's motion for a Preliminary Injunction or Temporary Restraining Order

 (hereinafter, "TRO")', denied Plaintiff's request for expedited preliminary-injunction hearing

 pursuant to Fed. R. Civ. P. 65 and denied Plaintiff's separate request for service of complaint by

 United States Marshal Service and pursuant to Fed. R. Civ. P. 4(c)(3). Plaintiff respectfully
 requests the Court to reconsider his requests because the Court's rulings in this matter are in error

 for the following reasons:

        a) Fed. R. Civ. P. 65 provides for the issuance of a TRO without notice to all parties,

 without a hearing, if the following is satisfied:

        "(A)specific facts in an affidavit or a verified complaint clearly show that immediate and
        irreparable injury, loss, or damage will result to the movant before the adverse party can
        be heard in opposition; and
        (B) the movant's attorney certifies in writing any efforts made to give notice and the
        reasons why it should not be required."

 1 Plaintiff's Motion for Preliminary Injunction and Expedited Hearing (including Brief
 Memorandum Of Law Of Plaintiff) dated April 1, 2020 (hereinafter, "Orig. Motion & Br.")
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